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  7
  8                         UNITED STATES DISTRICT COURT
  9                        CENTRAL DISTRICT OF CALIFORNIA
 10
 11   BARRY ROSEN,                               Case No. 2:18-cv-3126
 12                   Plaintiff,                 [Removal of Los Angeles County
                                                 Superior Court, Case No. BC694538]
 13         v.                                   EXPERIAN INFORMATION
 14   EXPERIAN INFORMATION                       SOLUTIONS, INC.’S NOTICE OF
      SOLUTIONS, INC., CLARITY                   REMOVAL
 15   SERVICES, INC., EASY CASH
      ASAP, LOANME INC., MARLETTE                Complaint Filed: February 16, 2018
 16   FUNDING LLC, MONEYKEY – CA,
 17   INC., MONEY LION, INC., NIIWIN,
      LLC, and DOES 1 through 10,
 18                   Defendants.
 19
 20
      TO THE CLERK OF THE COURT:
 21
            PLEASE TAKE NOTICE that Defendant Experian Information Solutions,
 22
      Inc. hereby files this Notice of Removal for the above-captioned action from the
 23
      Superior Court of California, County of Los Angeles, to the United States District
 24
      Court for the Central District of California, pursuant to 28 U.S.C. §§ 1331, 1332(d),
 25
      1441, 1446, and 1453, and on the basis of the following facts, which show that this
 26
      case may be properly removed to this Court:
 27
 28
                                                           EXPERIAN’S NOTICE OF REMOVAL
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  1         1.    Plaintiff filed a Complaint in the above-captioned matter in the Superior
  2   Court of California, County of Los Angeles, on February 16, 2018 (the “State Court
  3   Action”).
  4         2.    As more fully set out below, the Complaint makes this case properly
  5   removable to this Court pursuant to 28 U.S.C. § 1441 because Experian has satisfied
  6   the procedural requirements for removal, and this Court has subject matter
  7   jurisdiction over this action pursuant to 28 U.S.C. §§ 1331 and 1332(d).
  8   I.    EXPERIAN HAS SATISFIED THE PROCEDURAL
  9         REQUIREMENTS FOR REMOVAL.
 10         3.    Experian is a named defendant in the State Court Action, along with
 11   Clarity Services, Inc. (“Clarity”), Easy Cash ASAP, LOANME, INC., Marlette
 12   Funding LLC, MONEYKEY – CA, Inc., Money Lion, Inc., and Niiwin, LLC.
 13   Experian was served on March 16, 2018.
 14         4.    As of the date of this removal, only minimal proceedings have occurred
 15   in the State Court Action. On April 12, 2018, Experian filed its answer in the State
 16   Court Action. (See Ex. A-13.) On April 13, 2018, LOANME, INC. filed its answer
 17   in the State Court Action. (See Ex. A-14.) Experian reserves the right to amend or
 18   supplement this Notice of Removal.
 19         5.    Venue lies in the United States District Court for the Central District of
 20   California pursuant to 28 U.S.C. § 1441(a) because the State Court Action was filed
 21   within this District, at the Superior Court of California, County of Los Angeles.
 22   Therefore, venue is proper in this Court because it is the “district and division
 23   embracing the place where such action is pending.” See 28 U.S.C. § 1441(a).
 24         6.    Pursuant to 28 U.S.C. §§ 1446(b) and 1453(b), this Notice is being filed
 25   with this Court within thirty (30) days after Experian received a copy of the
 26   Complaint in this action setting forth the claims for relief upon which Plaintiff’s
 27   action is now based.
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  1             7.    Pursuant to 28 U.S.C. § 1446(a), Experian is attaching copies of all
  2   process, pleadings, and orders served upon Experian or electronically available in the
  3   State Court action, as Exhibit A. A “List of State Court Docs” is attached, specifying
  4   the exhibit number, the filing date, the name of the document, and the number of
  5   pages.
  6             8.    Pursuant to 28 U.S.C. § 1446(d), Experian shall file a copy of this Notice
  7   of Removal with the clerk of the State Court Action, and shall serve Plaintiff through
  8   his attorney of record in the State Court Action with this Notice promptly after its
  9   filing.
 10   II.       REMOVAL IS PROPER BECAUSE THE COURT HAS SUBJECT
 11             MATTER JURISDICTION PURSUANT TO 28 U.S.C. § 1332.
 12             9.    This court has jurisdiction over this case under 28 U.S.C. § 1332, as
 13   amended by the Class Action Fairness Act of 2005 (“CAFA”). CAFA’s intent “is to
 14   strongly favor the exercise of federal diversity jurisdiction over class actions with
 15   interstate ramifications” and “its provisions should be read broadly, with a strong
 16   preference that interstate class actions should be heard in federal court if properly
 17   removed by any defendant,” considering that such class actions usually have
 18   “significant implications for interstate commerce and national policy.” S. Rep. 109-
 19   14. Subject matter jurisdiction under section 1332(d) requires minimal diversity such
 20   that “any member of a class of plaintiffs is a citizen of a State different from any
 21   defendant,” and that the amount in controversy “exceeds the sum or value of
 22   $5,000,000.” See 28 U.S.C. § 1332(d). The subject matter jurisdiction provision of
 23   section 1332(d)(2) applies to proposed classes with an excess of 100 members. See
 24   28 U.S.C. § 1332(d)(5)(B).
 25             10.   As set forth below, this is a putative class action in which: (1) Plaintiff’s
 26   defined classes each will involve more than 100 members nationally; (2) at least one
 27   plaintiff has a different citizenship from at least one defendant; and (3) based upon
 28   the allegations in the Complaint, the claims of the putative class members exceed the
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  1   sum or value of $5,000,000 in the aggregate, exclusive of interest and costs. Thus,
  2   this Court has subject matter jurisdiction over this action pursuant to 28 U.S.C. §
  3   1332(d).
  4         A.     CLASS ACTION CONSISTING OF MORE THAN 100
  5                MEMBERS.
  6         11.    In the Complaint, Plaintiff seeks relief on behalf of multiple classes and
  7   subclasses. (Compl., ¶¶ 24, 39, 48, 58, 68, 78, 88, 98.)
  8         12.    Against Experian, Plaintiff seeks the following class: “All persons
  9   residing in the United States (including all territories and other political subdivisions
 10   of the United States) as to whom Experian Information Solutions, Inc., within the last
 11   five years, provided a consumer report to Clarity Services, Inc., Easy Cash ASAP,
 12   LOANME INC, Marlette Funding LLC, MONEYKEY - CA, Inc., Money Lion, Inc.,
 13   or Niiwin, LLC with respect to a credit or insurance transaction that was not initiated
 14   by the class member and the class member did not authorize the provision of such
 15   report to such person and the transaction did not consist of a firm offer of credit or
 16   insurance.” (Compl. ¶ 24.)
 17         13.    Plaintiff alleges the class against Experian to consist of over 1,000 class
 18   members. (Id. at ¶ 25.)
 19         14.    Against Clarity, Plaintiff seeks the following class:        “All persons
 20   residing in the United States (including all territories and other political subdivisions
 21   of the United States) as to whom Clarity Services, Inc., within the last five years,
 22   provided a consumer report to Easy Cash ASAP, MONEYKEY - CA, Inc., Money
 23   Lion, Inc., or Niiwin, LLC another person with respect to a credit or insurance
 24   transaction that was not initiated by the class member and the class member did not
 25   authorize the provision of such report to such person and the transaction did not
 26   consist of a firm offer of credit or insurance.” (Id. at ¶ 39.)
 27         15.    Plaintiff alleges the class against Clarity to consist of over 1,000 class
 28   members. (Id. at ¶ 40.)
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  1          16.       Against Easy Cash ASAP, Plaintiff seeks the following class: “All
  2   persons residing in the United States (including all territories and other political
  3   subdivisions of the United States) as to whom Easy Cash ASAP obtained a consumer
  4   report with respect to a credit or insurance transaction that was not initiated by the
  5   class member and the class member did not authorize the provision of such report to
  6   such person and the transaction did not consist of a firm offer of credit or insurance.”
  7   (Id. at ¶ 48.)
  8          17.       Plaintiff alleges the class against Easy Cash ASAP to consist of over
  9   1,000 class members. (Id. at ¶ 49.)
 10          18.       Against LOANME INC., Plaintiff seeks the following class: “All
 11   persons residing in the United States (including all territories and other political
 12   subdivisions of the United States) as to whom LOANME INC. obtained a consumer
 13   report with respect to a credit or insurance transaction that was not initiated by the
 14   class member and the class member did not authorize the provision of such report to
 15   such person and the transaction did not consist of a firm offer of credit or insurance.”
 16   (Id. at ¶ 58.)
 17          19.       Plaintiff alleges the class against LOANME INC. to consist of over
 18   1,000 class members. (Id. at ¶ 59.)
 19          20.       Against Marlette Funding LLC, Plaintiff seeks the following class: “All
 20   persons residing in the United States (including all territories and other political
 21   subdivisions of the United States) as to whom Marlette Funding LLC obtained a
 22   consumer report with respect to a credit or insurance transaction that was not initiated
 23   by the class member and the class member did not authorize the provision of such
 24   report to such person and the transaction did not consist of a firm offer of credit or
 25   insurance.” (Id. at ¶ 68.)
 26          21.       Plaintiff alleges the class against Marlette Funding LLC to consist of
 27   over 1,000 class members. (Id. at ¶ 69.)
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  1          22.       Against MONEYKEY – CA, Inc., Plaintiff seeks the following class:
  2   All persons residing in the United States (including all territories and other political
  3   subdivisions of the United States) as to whom MONEYKEY – CA, INC. obtained a
  4   consumer report with respect to a credit or insurance transaction that was not initiated
  5   by the class member and the class member did not authorize the provision of such
  6   report to such person and the transaction did not consist of a firm offer of credit or
  7   insurance.” (Id. at ¶ 78.)
  8          23.       Plaintiff alleges the class against MONEYKEY – CA, Inc. to consist of
  9   over 1,000 class members. (Id. at ¶ 79.)
 10          24.       Against Money Lion, Inc., Plaintiff seeks the following class: “All
 11   persons residing in the United States (including all territories and other political
 12   subdivisions of the United States) as to whom Money Lion, Inc. obtained a consumer
 13   report with respect to a credit or insurance transaction that was not initiated by the
 14   class member and the class member did not authorize the provision of such report to
 15   such person and the transaction did not consist of a firm offer of credit or insurance.”
 16   (Id. at ¶ 88.)
 17          25.       Plaintiff alleges the class against Money Lion, Inc. to consist of over
 18   1,000 class members. (Id. at ¶ 89.)
 19          26.       Against Niiwin, LLC, Plaintiff seeks the following class: “All persons
 20   residing in the United States (including all territories and other political subdivisions
 21   of the United States) as to whom Niiwin, LLC obtained a consumer report with
 22   respect to a credit or insurance transaction that was not initiated by the class member
 23   and the class member did not authorize the provision of such report to such person
 24   and the transaction did not consist of a firm offer of credit or insurance.” (Id. at ¶ 98.)
 25          27.       Plaintiff alleges the class against Niiwin, LLC to consist of over 1,000
 26   class members. (Id. at ¶ 99.)
 27          28.       Per the allegations in the Complaint, the number of persons included in
 28   each alleged putative class easily exceeds 100.
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  1          B.    DIVERSITY OF CITIZENSHIP.
  2          29.   As set forth in the Complaint, Plaintiff Barry Rosen is a citizen of Los
  3   Angeles County, California. (Id. at ¶ 2.)
  4          30.   Clarity is incorporated in Delaware with its principal place of business
  5   in Florida. (Id. at ¶ 4; Declaration of Thomas Chadwick (“Chadwick Decl.”), ¶¶ 2-
  6   5; see also 28 U.S.C. § 1369 (corporation deemed citizen of any state in which it is
  7   incorporated or has its principal place of business).)
  8          31.   Under 28 U.S.C. § 1332(d)(2), diversity jurisdiction is established
  9   where any member of the class is a citizen of a state different from any defendant.
 10   28 U.S.C. § 1332(d)(2)(A).
 11          32.   Plaintiff’s citizenship, California, is different from Clarity’s citizenship,
 12   Delaware and Florida. (Compare Compl., ¶ 4, with Chadwick Decl., ¶¶ 2-5.)
 13          33.   Accordingly, the diversity requirements of section 1332(d) have been
 14   met.
 15          C.    THE AMOUNT-IN-CONTROVERSY REQUIREMENT IS
 16                SATISFIED.
 17          34.   Plaintiff alleges eight distinct classes. Plaintiff alleges the number of
 18   members in each class to be over 1,000. (Compl., ¶ 25 (against Experian), ¶ 40
 19   (against Clarity); ¶ 49 (against Easy Cash ASAP), ¶ 59 (against LOANME INC.),
 20   ¶ 69 (from Marlette Funding LLC), ¶ 79 (against MONEYKEY—CA, INC.), ¶ 89
 21   (from Money Lion, Inc.), ¶ 99 (against Niiwin, LLC).) Accordingly, Plaintiff alleges
 22   the total class members to exceed 8,000.
 23          35.   Plaintiff seeks statutory damages up to $1,000 per violation of the FCRA
 24   from each Defendant to this action. (Id. at ¶ 23 (from Experian), ¶ 38 (from Clarity);
 25   ¶ 54 (from Easy Cash ASAP), ¶ 64 (from LOANME INC.), ¶ 74 (from Marlette
 26   Funding LLC), ¶ 84 (from MONEYKEY—CA, INC.), ¶ 94 (from Money Lion, Inc.),
 27   ¶ 104 (from Niiwin, LLC).)
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  1         36.     Plaintiff also seeks recovery of his attorneys’ fees from all defendants.
  2   (Id., Prayer for Relief, ¶ 4.) Attorneys’ fees often run into the six or seven figures in
  3   class actions. See, e.g., Rapsa v. Home Depot, 533 F. Supp. 2d 514, 522 (D.N.J.
  4   2007) (noting that attorney’s fees can easily exceed six figures in class actions); Craft
  5   v. Cnty. of San Bernardino, 624 F. Supp. 2d 1113, 1124 (C.D. Cal. 2008) (noting that
  6   a “study, done by National Economic Research Associates . . . found that attorneys’
  7   fees in these class actions averaged approximately 32% of the recovery, regardless
  8   of the case size, and averaged 34.74% when the fees and expenses were added
  9   together”).
 10         37.     Attorneys’ fees are properly aggregated and considered for purposes of
 11   determining the amount in controversy under CAFA—especially when recovery for
 12   attorneys’ fees is provided for in a statute under which Plaintiff seeks recovery. See
 13   28 U.S.C. § 1332(d)(6) (“In any class action, the claims of the individual class
 14   members shall be aggregated to determine whether the amount in controversy
 15   exceeds the sum or value of $5,000,000, exclusive of interest and costs.”);
 16   Lowdermilk v. U.S. Bank Nat’l Ass’n, 479 F.3d 994, 1000 (9th Cir. 2007) (“[W]here
 17   an underlying statute authorizes an award of attorneys’ fees, either with mandatory
 18   or discretionary language, such fees may be included in the amount in controversy.”).
 19   Attorneys’ fees are properly included in the amount in controversy in a class action.
 20   Id. (citing Gibson v. Chrysler Corp., 261 F.3d 927, 942–43 (9th Cir. 2001).) Plaintiff
 21   has not only claimed a right to attorneys’ fees in his Prayer, but he also claims that
 22   Defendants breached the Fair Credit Reporting Act (“FCRA”), which allows for
 23   recovery of attorneys’ fees. See 15 U.S.C. §§ 1681o, 1681n.
 24         38.     None of the other jurisdictional exceptions to CAFA apply to this case.
 25         39.     Based on Plaintiff’s allegations, including the number of purported class
 26   members alleged in the Complaint, the sum demanded in statutory damages and
 27   attorneys’ fees on behalf of the purported class, and Plaintiff’s additional monetary
 28   and non-monetary demands, Experian has a good faith belief that the amount in
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  1   controversy in this case in the aggregate exceeds the jurisdictional threshold of
  2   $5,000,000 contained in 28 U.S.C. § 1332(d).
  3   II.   REMOVAL IS ALSO PROPER BECAUSE THE COURT HAS
  4         SUBJECT MATTER JURISDICTION PURSUANT TO 28 U.S.C.
  5         § 1331.
  6         40.   Experian is a corporation that, for monetary fees, regularly engages in
  7   whole or in part in the practice of assembling consumer credit information or other
  8   information on consumers for the purpose of furnishing consumer reports to third
  9   parties. Experian uses means or facilities of interstate commerce for the purpose of
 10   preparing or furnishing consumer reports, and therefore is a “consumer reporting
 11   agency” within the meaning of 15 U.S.C. § 1681a(f). (See also Compl., ¶ 16.)
 12         41.   The claims for relief against Experian, Clarity, Easy Cash ASAP,
 13   LOANME, INC., Marlette Funding LLC, MONEYKEY – CA, Inc., Money Lion,
 14   Inc., and Niiwin, LLC alleged in the State Court Action arise under the Fair Credit
 15   Reporting Act, 15 U.S.C. §§ 1681 et seq. Plaintiff claims he was harmed by the
 16   alleged violations of the Fair Credit Reporting Act due to the alleged disclosure of
 17   his personal and private information. (Compl., ¶ 22). The Fair Credit Reporting Act
 18   is a federal law – a law of the United States. See 28 U.S.C. § 1331. Thus, this court
 19   has original subject matter jurisdiction over the above-captioned action pursuant to
 20   28 U.S.C. § 1331 and 15 U.S.C. § 1681p. See Rand v. Citibank, N.A., No. 14-04772,
 21   2015 U.S. Dist. LEXIS 14695, at *4 (N.D. Cal. Feb. 6, 2015) (“The Court has federal
 22   question jurisdiction over the FCRA claims under 28 U.S.C. § 1331….”). The above-
 23   captioned action may properly be removed to this United States District Court
 24   pursuant to 28 U.S.C. § 1441(a).
 25         42.   As of the date of this Notice, Clarity, LOANME, INC., Marlette
 26   Funding LLC, MONEYKEY – CA, Inc., and Money Lion, Inc., LLC have been
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   1   served with the Summons and Complaint in the State Court Action1 and consent to
   2   and join in removing the above-captioned action to this Court. Clarity’s, LOANME,
   3   INC.’s, and MONEYKEY – CA, Inc.’s consents to removal are attached hereto as
   4   Exhibit B-D. Marlette Funding, LLC and Money Lion, LLC also consent to and join
   5   in this removal. See Proctor v. Vishay Intertechnology, Inc., 584 F.3d 1208, 1225
   6   (9th Cir. 2009).
   7         43.    For all of the reasons stated, this action is removable to this Court
   8   pursuant to sections 1441, 1446, and 1453, and this Court may exercise jurisdiction
   9   over this matter pursuant to 28 U.S.C. §§ 1331 and 1332.
  10         WHEREFORE, Experian notices the removal of this case from the Superior
  11   Court of California, County of Los Angeles to the United States District Court for
  12   the Central District of California pursuant to 28 U.S.C. §§ 1331, 1332(d), 1441 and
  13   1453(b).
  14
       Dated: April 13, 2018                      Respectfully submitted,
  15
  16                                              JONES DAY
  17
  18                                              By: /s/ Richard J. Grabowski
                                                     Richard J. Grabowski
  19
                                                  Attorneys for Defendant
  20                                              EXPERIAN INFORMATION
                                                  SOLUTIONS, INC.
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               Defendants reserve their right to raise any of their defenses or other rights,
  28   including but not limited to their right to challenge the sufficiency of service.
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